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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-CV-14314-MARTINEZ/LYNCH

DUBAI WORLD CORPORATION, and
its subsidiaries, EXOMOS, NAKHEEL,
and PALM MARINE,

plaintiffs,
V.

HERVE JAUBERT and SEAHORSE
SUBMARINES INTERNATIONAL,
INCORPORATED, and Does 1-99,

defendants.
/

DEFENDANT/COUNTERCLAIM PLAINTIFF HERVE JAUBERT'S AND DEFENDANT
SEAHORSE SUBMARINES INTERNATIONAL INCORPORATED’S
RESPONSE TO PLAINTIFFS’ MOTION JN LIMINE TO EXCLUDE
MISCHARACTERIZATIONS OF SULTAN AHMED BIN SULAYEM’S NAME AND
POSITION, IRRELEVANT AND INFLAMMATORY EVIDENCE, TESTIMONY OR
CLAIMS INTENDED TO INFLAME AN ANTI-ARAB SENTIMENT, AND ANECDOTAL
EVIDENCE OF BUSINESS DIFFICULTIES IN THE UAE AND DUBAI AND
ACCOMPANYING MEMORANDUM OF LAW

Defendant/Counterclaim Plaintiff Herve Jaubert (“Mr. Jaubert”) and Defendant Seahorse
Submarines International Incorporated (“Seahorse”) hereby responds to Dubai World
Corporation’s (and its subsidiaries Exomos, Nakheel and Palm Marine)(collectively, “Dubai
World”) Motion in Limine to Exclude Mischaracterizations of Sultan Ahmed Bin Sulayem’s
Name and Position, Irrelevant and Inflammatory Evidence, Testimony or Claims Intended to
Inflame an Anti-Arab Sentiment, and Anecdotal Evidence of Business Difficulties in the UAE

and Dubai (“Motion in Limine”) and as grounds therefor state, as follows:

A. In Response to Dubai World’s Version of the General Background of this Matter

In its “General Background” of the Motion in Limine, Dubai World has, again, made

references to Mr. Jaubert’s conduct when he acted as CEO of Exomos; Mr. Jaubert will provide
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evidence at trial that the expenditures by Dubai World in Exomos were planned capital
expenditures which had been analyzed by multiple layers of financial and accounting personnel
at Dubai World prior to such expenditures were approved by Dubai World executives. Mr.
Jaubert did not lead Exomos to financial disaster: Dubai World did. Moreover, any payments for
components or related inventory that were purchased, with prior approval, through Seahorse,
were also agreed to before Mr. Jaubert relocated to Dubai.

Mr. Jaubert fled Dubai to avoid threatened indefinite imprisonment when Dubai World’s
auditors chose to use Mr. Jaubert as the reason for Exomos’ failure. Dubai World, for example,
created inventory and reimbursement issues regarding matters that had been personally approved
by Dubai Word’s Chairman years earlier. After Mr. Jaubert’s wife and children had left Dubai
(after first being detained for hours at the Dubai airport), Mr. Jaubert then managed to escape by
implementing a plan he had taken nearly a year to see to fruition.

Mr. Jaubert subsequently author a book about his ordeal; Dubai World, having some
experience with extortion as it extorted monies from Mr. Jaubert before he escaped, has now in
this litigation seized upon the idea of further impugning Mr. Jaubert’s character by accusing Mr.
Jaubert of attempting to extort monies from Dubai World in order not to publish his book. The
record will reflect otherwise: Mr. Jaubert was writing and publishing his book regardless. Under
this scenario, Dubai World’s also imagines that Mr. Jaubert utilized his former attorney as well

as a Bloomberg reporter in this purported scheme.

B. In Response to Characterizing Mr. bin Sulayem as a Sultan

Of course, Mr. Jaubert and Seahorse agree that Mr. bin Sulayem is not a sultan or the

sultan of Dubai but is named Sultan.

C. In Response to Anti-Arab Prejudice

Mr. Jaubert, given what he has alleged occurred to him during his time in Dubai, did

author a book and provide his opinion therein regarding how he was treated. What Mr. Jaubert
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published in his account of his ordeal and what is admissible as evidence in a court of law,
however, are two entirely different matters. Mr. Jaubert and Seahorse reco gnize the difference.

However, it must be noted that in the Motion in Limine Dubai World claims that Mr. bin
Sulayem was questioned at his deposition about his marital status and the number of wives he
had, the legality of extramarital affairs in Dubai and the legality of murder in Dubai. Dubai
World is concluding that there was no relevance to such questions.

This is an interesting slant on how Dubai World perceives the events that have unfolded
in this litigation. For instance, Dubai World, at the deposition of an individual who was acting as
a consultant to Exomos in the development of a commercial diving school and the development
of a hyperbaric medical facility at Exomos, asked the deponent if Mr. Jaubert was, “having a
relationship with his secretary that was distracting from his work.” Deposition of Ross Saxon at
page 34, line 14-16. (For the record, Mr. Jaubert responded, “absolutely not.”)

Then, at Mr. Jaubert’s first day of deposition, Mr. Jaubert was asked whether he was
“devoting company time or resources to a nonprofessional relationship with [his] secretary...”.
Jaubert deposition of May 25, 2010 at page 69, lines 6 — 8 and 14-16. Dubai World then asked
Mr. Jaubert if he had seen pornographic photographs that had been sent to Mr. Jaubert’s Exomos
e-mail account. Mr. Jaubert testified that he had not. Mr. Jaubert testified that it was against
company policy to send pornographic photographs and that it could result in going to jail.

Dubai World then proceeded to ask Mr. Jaubert about 4 other exhibits, some of them
composite, that were photographs of girls in bikinis, lingerie, or less and inquired if he had sent
or received them at his Exomos e-mail account. The questioning was ostensibly to determine if
Mr. Jaubert understood that if he had done so, it would have been against company policy and
illegal in Dubai. Then Dubai World questioned Mr. Jaubert about a document showing an Israeli
flag with a swastika in the middle; Mr. Jaubert testified that it was disgusting.

Dubai World continued, for 27 pages of the deposition transcript (out of 222 pages),
along this line of questioning. Mr. Jaubert testified that he knew it was unprofessional and
illegal to send pornographic photographs, to engage in prostitution, or to have a girlfriend in
Dubai.

At Mr. bin Sulayem’s deposition, as the Chairman of Dubai World to whom Mr. Jaubert

reported directly, Mr. bin Sulayem was similarly asked whether he had conducted business or
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met clients on his yacht and then whether he had employed women to participate on that vessel;
the question was asked because Dubai World had implied that Mr. Jaubert conducted himself
inappropriately as CEO of Exomos by having an unprofessional relationship with his secretary
and because pornographic photographs had been sent to his email account. Mr. Sulayem did not
answer that question or answer the question whether it was illegal to have a relationship other
than with a wife. Mr. Sulayem eventually stated he was not a lawyer and could not answer that
question or the question whether prostitution was legal in Dubai. Mr. bin Sulayem subsequently
answered that he knew about bringing guns into Dubai because he worked at Customs. He then
answered that he did not know, however, whether it was illegal to bring a prostitute into Dubai.

Just as Mr. Jaubert had been questioned for 27 pages about extramarital relationships and
pornographic photographs, allegedly to determine whether Mr. Jaubert understood these matters
to be against company policy and illegal in Dubai, Mr. bin Sulayem, as Chairman of Dubai
World, was questioned about similar matters. Of course, Mr. Jaubert does not have Mr. bin
Sulayem’s computer hard drive to look at to see if Mr. bin Sulayem has pornographic
photographs thereon as Dubai World has Mr. Jaubert’s Exomos hard drive.

Therefore, the questioning of Mr. bin Sulayem that Dubai World has brought up in its
Motion in Limine, was relevant. As Chairman of Dubai World, it is reasonable to inquire
regarding such matters and Mr. Jaubert did so, in a far more limited manner; Mr. Jaubert
answered all of the questions asked of him: Mr. bin Sulayem did not.

Argument

It is agreed that the characterization of Mr. bin Sulayem as “the” sultan of Dubai or a
sultan is inaccurate. Mr. Jaubert and Seahorse do not intend to be inaccurate in portraying Mr.
bin Sulayem as such.

Regarding Dubai World’s Motion in Limine to exclude evidence or testimony that
imputes irrelevant bias to anti-Arab sentiment, Mr. Jaubert and Seahorse are not exactly certain
to what evidence or testimony Dubai World refers. This blanket request is so broad and general,
it is difficult to determine whether there is a basis for the Motion in Limine. Indeed, in one of
the cases cited by Dubai World, Kaplan v. DaimlerChrysler, A.G., 331 F.3d 1251, (11" Cir,
2003), a motion in limine to exclude derogatory statements regarding Nazis, concentration

camps, etc. was characterized by the appellate court as “overkill”. In that case, the lower court
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had entered a Rule 11 order against the movant for filing the motion in limine; the appellate
court reversed the entry of the Rule 11 order.

A case that is more appropriate to the general blanket request herein is Roberts vy.
Charter National Life Insurance Co., 105 F.R.D. 492 (S.D. Fla. 1985). In that case, the
defendant moved in limine seeking a pretrial ruling on the admissibility of evidence at trial.

The court held:

Defendant's motion in limine seeks a pre-trial ruling on the admissibility of
evidence at trial. Consideration of evidentiary rulings on an item by item,
piecemeal, basis is counter-productive to the effective administration of justice in
a busy trial court. When these rulings are made at the time the exhibit is offered in
evidence, the trial judge has the benefit of full development of all relevant facts

constituting the introductory predicate for admission of the item or statement.
Motions in limine rarely provide this factual background.

Other factors causing the Judges of the Southern District of Florida to
generally not favor motions in limine are:

1. The problem may never arise, in which event the time spent on such a
hearing is wasted. For example:

A. The plaintiff may elect, at trial not to offer the document.

B. The case may be settled (92% of civil litigation in U.S. Courts settles).

C. The attorneys may agree on admission of the document or a summary thereof.

The court in Roberts denied the motion in limine without prejudice to reassert at the time
of trial if circumstances so warranted. See, also, Sperberg v. Goodyear Tire & Rubber Co., 519
F.2d 708, 712 (6" Cir. 1975)(orders in limine which exclude broad categories of evidence should
rarely be employed; a better practice is to deal with questions of admissibility of evidence as they
arise), Plair v. E.J. Brach & Sons, Inc., 864 F.Supp. 67 (N.D. Ill. 1994)(a motion in limine to
exclude evidence may be granted only if the evidence sought to be excluded is clearly
inadmissible for any purpose; denial of the motion means only that outside the context of trial,
the court cannot determine whether the evidence in question is admissible).

In Hawthorne Partners v. AT&T Technologies, Inc., 831 F.Supp. 1398 (N.D. IU. 1993),

the court held:
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This court has the power to exclude evidence in limine only when evidence is
clearly inadmissible on all potential grounds. Cf Luce v. United States, 469 U.S.
38, 41 n. 4, 105 S.Ct. 460, 463 n. 4, 83 L.Ed.2d 443 (1984) (federal district courts
have authority to make in limine rulings pursuant to their authority to manage
trials). Unless evidence meets this high standard, evidentiary rulings should be
deferred until trial so that questions of foundation, relevancy and potential
prejudice may be resolved in proper context. See The Middleby Corp. v,
Hussmann Corp., No. 90 C 2744, 1993 WL 151290, at *1, 1993 U.S. Dist. LEXIS
6150, at *1-2 (N.D.II. May 5, 1993). See generally 21 Charles A. Wright &
Kenneth W. Graham, Jr., Federal Practice and Procedure 4 5037, 5042 (1977 &
Supp.1993). Denial of a motion in limine does not necessarily mean that all
evidence contemplated by the motion will be admitted at trial. Denial merely
means that without the context of trial, the court is unable to determine whether
the evidence in question should be excluded. The court will entertain objections
on individual proffers as they arise at trial, even though the proffer falls within the
scope of a denied motion in limine.

Conclusion

Dubai World has moved for a general, broad, all-encompassing motion in limine to
exclude unspecified, wide categories of evidence and testimony in this matter. As set forth
above, orders in limine which exclude broad categories of evidence should rarely be employed.
A better practice is to deal with questions of admissibility of evidence as they arise. As Judge
King held in Roberts,, supra, “when these rulings are made at the time the exhibit is offered in
evidence, the trial judge has the benefit of full development of all relevant facts constituting the
introductory predicate for admission of the item or statement. Motions in limine rarely provide
this factual background.”

Accordingly, Mr. Jaubert and Seahorse respectfully request that Dubai World’s Motion in
Limine be denied.

Dated: January 19, 2011
Respectfully submitted,

s/William T. Hess

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CERTIFICATE OF SERVICE
IT HEREBY CERTIFY that on January 19, 2011, I filed this document with the Clerk
electronically through the CM/ECF system which caused all counsel of record to be served by

electronic means.
s/ William T. Hess
William T. Hess

